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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

UNITED STATES OF AMERICA                             CRIM.NO:         7:21-CR-14

       v.                                            VIOLATIONS:
                                                     18 u.s.c. § 1349
YAO LIN,                                             18 u.s.c. § 1343
                                                     18 U.S.C. § 98l(a)(l)(C)
       Defendant                                     28 U.S.C. § 246l(c)



THE GRAND JURY CHARGES:

                                   COUNT ONE
                                  18 u.s.c. § 1343
                        CONSPIRACY TO COMMIT WIRE FRAUD
       Beginning on a date unce1iain, but at least on or about Febrnary 19, 2021 and continuing

through on or about March 29, 2021, in the Valdosta Division of the Middle District of Georgia

and elsewhere within the jurisdiction of this Court, the defendant,

                                           YAO LIN,

did combine, conspire, confederate, agree, and have a tacit understanding with others unknown to

the Grand Jury, to lmowingly devise and willfully participate in, with knowledge of its fraudulent

nature and with the intent to defraud, a scheme and miifice to defraud and obtain money and

prope1iy by means of materially false and fraudulent pretenses, representations and promises and

in doing so, for the purpose of executing and in furtherance of said that scheme and artifice to

defraud, caused sounds and signals to be transmitted by means of wire communications in

interstate and foreign commerce, in violation of Title 18, United States Code, Section 1343.




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A. Object and Manner and Means of the Conspiracy:

1.   It was the object of the conspiracy to execute a scheme to defraud individuals, financial

institutions, and Walmart to obtain money and property by acquiring, tluough fraudulent pretenses,

representations and promises, Walmait gift cai·ds and conve1t those Walmart gift cards to other

gift and pre-paid debit cards and property for use or sale by members of the conspiracy.

2.   It was a part of the manner and means of the conspiracy that members of the conspiracy would

contact people by means of telephone calls and emails and, using false and fraudulent info1mation,

convince those individuals to purchase and then electronically send to the co-conspirators Walmait

gift cards loaded with funds.

3.   It was also a part of the manner and means of the conspiracy that members of the conspiracy

would call Walmait employees and, using false and fraudulent representations, cause those

employees to fund gift card numbers and to provide the fraudulently obtained and funded gift card

numbers to the co-conspirators.

2. It was a pait of the manner and means of the conspiracy that members of the conspiracy, would

then send those fraudulently obtained gift card numbers, to LIN via cellulai· telephone. LIN would

then conve1t the gift cards into other kinds of gift and pre-paid debit cards and prope1ty. LIN

would then forward the fraudulently purchased gift and prepaid debit card numbers to other

members of the conspiracy in China by means of cellular telephone with payment then made to

LIN by the conspirators using a digital application accolmt accessed on his cellular telephone.

3.   It was a part of the manner and means of the conspiracy that the gift and pre-paid debits cards

would, at times, be in amounts different from and, at times less than the amount of funds on the

Walmart gift cai·ds. The Walmart gift card numbers would, at times, be used in multiple

transactions and multiple Walmart gift cards would also, at times, be used in a single purchase of

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gift cards and property. During the period of the conspiracy, LIN used fraudulently obtained gift

cards to fund purchases of other gift and pre-paid debits cards and property, at Walmmi stores in

four states, including Georgia, in the amount of$533,341.75. Additional funds also remained on

the Walmart gift cards at the time that the conspiracy involving LIN was ended.

C. Overt Acts

     In ftniherance of the conspiracy, the conspirators, including LIN, committed ove1i acts in the

Middle District and elsewhere, including, but not limited to:

1.     On or about February 19, 2021, LIN used five separate fraudulently obtained Walmmi gift

cards, including cards ending in 0045, 8385, 3648, 9738, and 4309, at Walmmi Store 4476 in

Chesterfield, Virginia to make purchases of other gift cards totaling $2070.00. The cards had been

obtained by victims of fraud at stores in North Carolina, Maryland, and Louisiana.

2. On or about March 19, 2021, after being convinced by a co-conspirator who called her claiming

to be from Best Buy that she owed money to Best Buy, victim M.J. in Mississippi, used a debit

card to purchase four Walmart gift cards ending in 1009, 9485, 1999, and 7248 at Walmart Stores

258 and 4619 in Tupelo, Mississippi, and forwarded the numbers to the co-conspirator as

instructed. The co-conspirator electronically sent the Walmart gift card numbers to LIN, who, less

than one hour after the purchase by the victim, used the gift card numbers to purchase other cards

totaling $2000.00 at Walmmi Stores 1314 and 3786 in Buford, Georgia.

3. On or about March 29, 2021, after being convinced by a co-conspirator who called her claiming

to represent a computer anti-virus software company that she needed to repay an excess electronic

transfer into her bank account, victim K.W. in New Mexico used a debit and a credit card to

purchase three Walmmi gift cards ending in 3697, 8601, and 7083, at Walmart Store 3732 in Rio

Rancho, New Mexico, and forwarded the numbers to the co-conspirator as instructed. The co-

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conspirator electronically sent the Walmmt gift card numbers to LIN, who, less than one hour after

the purchase by the victim, used the gift card numbers to purchase other cards totaling $1500.00

at Walmatt Store 7194 in Adel, Cook County, Georgia.

4.     On or about March 29, 2021, after being convinced by a co-conspirator that victim D.A.N.

was communicating by text and telephone calls with a Florida woman he met on a dating site,

victim D.A.N. in Missouri used a debit card to purchase a Walmart gift card ending in 2196 at

Walmart Store 801 in Maryville, Mmyland, and forwarded the number as instructed by the co­

conspirator that he believed was the Florida woman. The co-conspirator had convinced victim

D.A.N. to send approximately $5,000.00 over the course of the communication. The co­

conspirator electronically sent the Walmart gift card number purchased on March 29, 2021, to

LIN, who, less than one hour after the purchase by the victim, used the gift card number to purchase

three (3) other cards totaling $200.00 at Walmart Store 899 in Valdosta, Lowndes County,

Georgia.

4.    On or about March 29, 2021, at Walmart Store 899 in Valdosta, Lowndes County, Georgia,

LIN used seven (7) additional fraudulently obtained Walmart gift card numbers, including two (2)

purchased in Bloomington, Illinois by victim J.K.., two (2) purchased in Lockhart, Texas by victim

A.B., two (2) purchased in Greenville, Alabama with cash by an unidentified victim, and one (1)

purchased in Green Bay, Wisconsin by victim M.B., to purchase additional cards totaling an

additional $2800.00.

5. Between February 19, 2021 and March 29, 2021, LIN conducted approximately 2337 Walmart

gift card transactions at Walmmt stores using approximately 1,271 different Walmart gift card

numbers and spending approximately $533,341.75 in fraudulently obtained funds.

     All in violation ofTitle 18, United States Code, Section 1349, in connection with Section 1343.

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                                     FORFEITURE NOTICE
             (18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 2461(c)- Criminal Forfeiture)


        I.       The allegation contained in Count One of this Indictment is hereby re-alleged and

incorporated by reference into this Notice for the purpose of alleging forfeiture to the United States

of America, pursuant to the provisions of Title 18, United States Code, Section 981(a)(l)(C), in

conjunction with Title 28, United States Code, Section 2461 (c ).

       2.        Upon conviction of the offense(s) in violation of Title 18, United States Code,

Section 1349 in connection with Section 1343 set forth in Count One, the defendant,

                                              YAO LIN,

shall forfeit to the United States of America pursuant to Title 18, United States Code, Section

98l(a)(l)(C), in conjunction with Title 28, United States Code, Section 246l(c), any property, real

or personal, which constitutes, or is derived from proceeds traceable to the violation, or a

conspiracy to commit such offense(s) set forth in Count One of the Indictment.

       3.        If any of the property subject to forfeiture, as a result of any act or omission of the

defendant(s):

       (a)       cannot be located upon exercise of due diligence;

       (b)       has been transferred, sold to or deposited with, a third person;

       (c)       has been placed beyond the jurisdiction of the court;

       (d)       has been substantially diminished in value; or

       (e)       has been commingled with other property which cannot be subdivided without

                 difficulty,




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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c), through Title 18, United States Code, Section 981(a)(l)(C).

       All pursuant to 18 U.S.C. § 981(a)(l)(C), and 28 U.S.C. § 2461(c).



                                                      A TRUE BILL


                                                      Isl Foreperson ofthe Grand Jury
                                                      FOREPERSON OF THE GRAND JURY


Presented By:

PETER D. LEARY
ACTING UNITED STATES ATTORNEY

�'JV{UL__
ROBERT D. MCCULLERS
ASSISTANT UNITED STATES ATTORNEY

Filed in open court this_��-- day of

May, A.D. 2021

__ _Q,_CLL�-------
Deputy Clerk




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